        Case 1:21-cr-00399-RDM Document 124-5 Filed 05/19/23 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 21-cr-399 (RDM)
                                              :
ROMAN STERLINGOV,                             :
                                              :
                       Defendant.             :

       SUMMARY OF QUALIFICATIONS AND EXPECTED TESTIMONY FOR
                           SARAH GLAVE

       The government intends to call Sarah Glave to testify regarding Mr. Sterlingov’s

financials. Ms. Glave is a forensic accountant employed by Deloitte Financial Advisory Services

LLP as a contractor assigned to support the Internal Revenue Service’s Cyber Crime Unit. Ms.

Glave is contracted to perform financial analysis for third-party money laundering (3PML)

investigations — that is, professionalized money laundering committed by individuals or entities

such as financial gatekeepers — particularly those related to cyber crime. Ms. Glave has

experience analyzing financial and business records, including through her work investigating

money laundering networks and identifying links between other known and unknown targets,

entities, financial accounts, and assets. She is versed in both traditional financial transactions

and cryptocurrency.

       Ms. Glave holds Bachelor’s and Master’s degrees in Accounting, and is a Certified

Public Accountant with the Virginia Board of Accountancy and a Certified Fraud Examiner.

Prior to her work with Deloitte, Ms. Glave worked as an auditor with KPMG, leading a staff in

support of the external audit of a federal agency and its component entities, as well as leading

two performance audits. Ms. Glave has developed and delivered training to forensic accountants

on techniques for supporting law enforcement investigations. Ms. Glave’s experience and



                                                  1
        Case 1:21-cr-00399-RDM Document 124-5 Filed 05/19/23 Page 2 of 4




qualifications are further detailed in a curriculum vitae which is being provided to defense

counsel under separate cover and is incorporated in this notice by reference. Ms. Glave has not

testified at trial or by deposition in the past four years, and has not authored any publicly

published works in the past 10 years. Ms. Glave’s testimony will be based upon her training and

experience as a forensic accountant as well as her review of the discovery in this matter—

particularly Mr. Sterlingov’s financial records and communications regarding financial

transactions.

        Ms. Glave is expected to testify regarding her review of financial records and related

communications. Ms. Glave will assist the jury in understanding Mr. Sterlingov’s transaction

history and will explain the flow of funds into, out of, and across Mr. Sterlingov’s accounts,

including accounts held at various virtual currency exchanges, cryptocurrency wallets, and

accounts at banks and other traditional financial institutions. Ms. Glave will summarize her

findings, including how she read and interpreted financial statements. She will walk the jury

through Mr. Sterlingov’s cryptocurrency deposits as well as the withdrawals and sales, noting the

trading price of the cryptocurrency at the time. Ms. Glave’s testimony will note Mr. Sterlingov’s

purchases, expenditures, and spending, as compared to his incoming cash flow. Ms. Glave’s

testimony will include the transactions set forth in the relevant account records as well as those

detailed in the transaction confirmations and related communications contained in the

defendant’s emails and/or electronics. Ms. Glave will track and quantify Mr. Sterlingov’s

financial activity.

        Ms. Glave may also rebut a defense argument that Mr. Sterlingov’s proceeds were the

profits of his bitcoin sales, or that Mr. Sterlingov was a mere virtual currency trader. Ms.




                                                  2
       Case 1:21-cr-00399-RDM Document 124-5 Filed 05/19/23 Page 3 of 4




Glave’s testimony may rebut defense arguments that Mr. Sterlingov’s transaction activities were

consistent with an early investor conducting personal trades.

       Through Ms. Glave, the government intends to introduce several charts, spreadsheets,

tables, graphs, and visual aids, including as described in the government’s pending Notice and

Motion in Limine to Admit Certain Government Exhibits, ECF 62 at 35-36 (discussing the

intended admission of summary charts). Those charts will be provided to defense after they are

completed and sufficiently in advance of trial. The charts will assist the jury in understanding

the government’s financial analysis and Ms. Glave’s testimony.




                                                 3
     Case 1:21-cr-00399-RDM Document 124-5 Filed 05/19/23 Page 4 of 4




                                          Respectfully submitted,
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                          Witness Attestation
I, Sarah Glave, have reviewed and approve the contents of this filing.


 __________________________                         05/17/2023
                                                _________________
            Sarah Glave                                  Date




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